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Guynn, Waddell, Carroll & Lockaby, P.C.

- Altorneys at Law -

Jim H. Guynn Jr. Jeremy E. Carroll Christopher S. Dadak Mark C. Popovich
Susan A. Waddell Michael W.S. Lockaby Julian F. Harf

March 5, 2020

The Honorable Norman K. Moon
United States District Judge

255 W. Main Street, Room 304
Charlottesville, VA 22902

Re: — Johnson v. Holmes, Civil Action 3:16-cv-00016
Dear Judge Moon:

In accordance with the Court’s order of F ebruary 4, 2020, this will serve to bring the
Court up to date on discovery. Plaintiff's counsel has provided the Court with a copy of his
subpoena duces tecum to Albemarle County Police Department and the response that I filed on
behalf of the department.

The crime analyst who prepared the original charts is no longer employed by the
Albemarle County Police Department. As Mr. Fogel stated, we will provide him with her
address so that he may subpoena her to deposition. The County’s position is that the Federal
Rules of Civil Procedure do not require a third party to litigation to create documents in response
to a subpoena. The Rules require production of documents as defined. In my discussion with
Mr. Fogel, I advised him that the County recognizes that one alternative could be production of
copies of traffic summonses that fit his request. Albemarle County does not maintain traffic
summons records in a way that they can be called up by sector. Rather, the Department will
review all traffic summonses within the time frame and hand sort them based on sector. The
crime analyst who performed the previous analysis in this case did not leave her background
work that supports the numbers on the chart. In other words, she did not create a file that
contains all of the documents that are represented in the exhibits.

Please let me know if you have any questions.
Very truly yours,

GUYNN, WADDELL, CARROLL & OCKABY, P.C.

   

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JHG/Isu
cc: Jeffrey E. Fogel, Esq. (via e-filing)

 

415 S. College Avenue, Salem, Virginia 24153 | 540.387.2320 | www.guynnwaddell.com
